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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, NY RC RK 0 0 64 2 - VA ‘

Plaintiff, INFORMATION
Vv. [22 U.S.C. §§ 612, 618 (a) (2):
Violations of the Foreign Agents
ITMAAD SHAH ZUBERI, Registration Act; 26 U.S.C.
§ 7201: Tax Evasion;
Defendant. 52 U.S.C. §§ 30116, 30118, 30121,

30122, 30109(d) (1): Foreign,
Conduit, and Other Illegal
Campaign Contributions]

 

 

 

 

The United States Attorney charges:

INTRODUCTORY ALLEGATIONS

A. Defendant’s Political & Business Activities

 

1. From in or about 2010 through the present, defendant IMAAD
SHAH ZUBERI operated an informal entity named Avenue Ventures, a
venture capital firm. As part of his operation of Avenue Ventures,
defendant ZUBERI told foreign nationals, representatives of foreign
governments, and others that he could implement changes to United |
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States foreign policy by wielding his influence in Washington, D.C.
Defendant ZUBERI typically advertised these political policy changes
as devices to construct profitable business and investment
opportunities for his clients as well as himself.
| 2. Defendant ZUBERI and Avenue Ventures obtained funds from
this business plan in multiple ways. Some of defendant ZUBERI’s
clients agreed to pay him consulting or retainer fees. Other clients
agreed to transfer money to defendant ZUBERI to invest in specific
business ventures for the benefit of these clients. Other clients
agreed to transfer money to defendant ZUBERI to fund political
campaign contributions in an effort to create business opportunities
for themselves.

3. Defendant ZUBERI used a portion of these funds to donate

contributions to the political campaigns of federal and state

(officials. Between on or about September 1, 2011 and on or about

February 24, 2017, the day when defendant ZUBERI became aware of the
U.S. Government’s criminal investigation, defendant ZUBERI made over
$3,000,000 in contributions, in either his own name or that of his
spouse, to various Democratic and Republican federal election
campaigns, and Presidential Inauguration Committees. Between on or
about September 1, 2011 and on or about November 7, 2016, defendant
ZUBERI also “bundled” over a million dollars of contributions from
various third parties as a fundraiser for campaigns for Presidential
elections and several other candidates for elected office.

4, Through these political contributions, defendant ZUBERI
obtained access to high-level United States officials. Defendant
ZUBERI attempted to persuade these public officials to modify
existing United States policies and take other actions on behalf of,

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and favorable to, defendant ZUBERI’s clients. In an effort to
convince his clients of his ability to wield influence, defendant
ZUBERI broadcast this access by distributing photographs of defendant
ZUBERI meeting with high-ranking elected officials and describing
conversations in which they purportedly discussed public policies of
international importance.

5. Defendant ZUBERI used a portion of the funds from his
business plan to hire lobbyists and public relations consultants who
assisted his efforts to influence and transform public policy and
opinion in the United States.

6. Defendant ZUBERI’s campaign contributions, public relations
work, and lobbying efforts generated marginal results. Some United
States officials, however, were willing to adopt defendant ZUBERI’s
requested political positions or otherwise accommodate defendant
ZUBERI’s wishes.

7. Defendant ZUBERI’s business ventures were largely
unsuccessful for his clients. Indeed, most of defendant ZUBERI’s
clients suffered significant monetary losses stemming from their
business associations with defendant ZUBERI. Many of the lobbyists,
public relations consultants, and other subcontractors also suffered
losses when defendant ZUBERI, refused to pay them the agreed-upon fees
for services they rendered.

8. In contrast to the losses suffered by his clients and
subcontractors, defendant ZUBERI gained substantial wealth. This
newfound wealth was almost entirely obtained as a result of (a)
fraudulent representations concerning defendant ZUBERI’s education,
experience, family wealth, business, employees, investment successes,

financial condition, political power, and the disposition of client

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funds, and (b) the outright conversion of client money for defendant
ZUBERI’s own personal benefit.

B. The Foreign Agents Registration Act

 

9. The Foreign Agents Registration Act (“FARA”) was, and is, a
disclosure statute that requires any person acting as “an agent of a
foreign principal” to register with the Attorney General of the
United States in connection with certain types of activities, such as
political or public relations efforts on behalf of the foreign
principal. Such registrations are made to the U.S. Department of
Justice, National Security Division's FARA Unit. It is a crime to
knowingly and willfully fail to register, and to make false and
misleading statements or material omissions in documents submitted to
the FARA Unit under the law's provisions.

10. One purpose of FARA is to create transparency regarding the
existence and extent of the relationship between individuals
operating in the United States and their foreign principals. Proper
registration under the statute allows the U.S. government and the
American people to evaluate the statements and activities of
individuals who are serving as agents of foreign principals. Among
other things, a FARA registration reveals the identity of the foreign

principal on whose behalf.a registrant performs services, the type of

| services the registrant provides the foreign principal, the source

and amount of compensation the registrant receives from the foreign
principal, and political campaign contributions made by the
registrant while the registrant was acting as an agent of the foreign
principal. The Government of Sri Lanka, a country in South Asia,

was, and is, a foreign principal under FARA.

 

 
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Cc. The Federal Election Campaign Act

 

11. The Federal Election Campaign Act (“FECA”) governed, and
governs, contributions to candidates, their campaign committees, and
political committees in United States elections.

12. FECA requires that federal candidates for public office
designate a principal campaign committee to solicit, accept, and
receive contributions and to make expenditures for the campaign.
FECA also permits the establishment of other political committees,
such as national party committees, state party committees, and
political action committees, which can solicit, accept, and receive
contributions and make expenditures for candidates and political
parties.

13. FECA requires that each treasurer of a political committee
that participates in federal elections file periodic reports to the
Federal Election Commission (“FEC”) identifying contributors by name,
address, and occupation, and the contributions provided by those
contributors by date and amount.

14. FECA prohibits:

a. Contributions from foreign nationals, meaning

individuals who are neither citizens of the United States nor

permanent residents of the United States, directly or through any

other person, in connection with any federal, state, or local
election or any presidential inaugural;

b. Contributions from foreign or domestic corporations,
partnerships, associations, or organizations in connection with any

federal election for federal office;

 

 
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on Conduit contributions, contributions in the name of
another, or using one name to effect a contribution by another in
connection with any federal election for federal office;

d. Contributions from any person (i) in excess of $2,500
during the 2012 election cycle, $2,600 during the 2014 election
cycle, and $2,700 during the 2016 election cycle to any candidate’ s_
authorized political committee per federal election; (ii) in excess
of $30,800 during the 2012 election cycle, $32,400 during the 2014
election cycle, and $33,400 during the 2016 election cycle per year
to any national party committee; (iii) in excess of $10,000 per year
to any state, district, and local party committee, and (iv) in excess
of $5,000 per year to any other political committee.

D. Individuals, Entities, & Non-Existent Person

 

15. Person A was a foreign national, namely, a citizen of both
Saudi Arabia and the United Kingdom who resided in the United Kingdom
and Switzerland. Person A was the chairman of Company A, a foreign
corporation headquartered in Riyadh, Saudi Arabia. Person A’s
spouse, Person B, was a citizen of the United States.

16. Person C was a citizen of both Lebanon and the United
States, residing in Kuwait. Person C was the Chief Executive Officer
of Company B, a foreign corporation headquartered in Kuwait City,
Kuwait. Person C’s spouse, Person D, was a foreign national, namely,
a citizen and resident of Kuwait.

17.° Person E was a foreign national, namely, a citizen of
Venezuela who resided in Saudi Arabia and was employed by Company A.
Person E’s spouse, Person F, was a foreign national, namely, a

Venezuelan citizen residing in Saudi Arabia.

 

 
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18. Person G was a citizen of the United States. Person G’s
spouse, Person H, was a foreign national, namely, a citizen of
Brazil. |

19. Person I was a non-existent person created by defendant
ZUBERI to aid in his schemes.

20. U.S. Cares, LLC (“U.S. Cares”), also known as America
Cares, waS a Delaware limited liability corporation, created at the
direction of defendant ZUBERI on or about December 13, 2013. On or
about November 24, 2014, defendant ZUBERI submitted an application on
behalf of U.S. Cares for a license from the Office of Foreign Assets
Control (“OFAC”) to allow U.S. Cares to export humanitarian items,
including food, medicine, and medical supplies, to Iran.

21. Person J was a foreign national, namely, a citizen of

Bahrain, executive of Company C, and Chairman of Company D, both

foreign entities. In or about August 2013, Company D invested in
U.S. Cares.
22. Person K was a foreign national, namely, a citizen of the

United Arab Emirates and Singapore and Managing Partner of Company E,
a foreign entity. In or about August 2013, Company E invested in
U.S. Cares.

23. Person L was a foreign national, a citizen of United Arab
Emirates and Chief Executive Officer of Company F, a foreign entity.
In or about October 2013, Company F invested in U.S. Cares. On or
about April 29, 2014, OFAC designated both Person L and Company F as
Specially Designated Nationals. This designation prohibited United
States persons from engaging in business with, blocked the assets of,

and imposed other restrictions against Person L and Company F. In or

 

 
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about November 2014, Company F sold its shares in U.S. Cares to
Company D.

24. Person M was a foreign national, namely, a citizen of
Kuwait and principal of Company G, a foreign entity. In or about
December 2013, Company G invested in U.S. Cares.

25. Person N was a foreign national, namely, a citizen of India
and principal of Company H, a foreign entity. In or about December
2013, Company H invested in U.S. Cares.

26. From on or about April 9, 2009 through July 14, 2014, WR
Group was an informal entity. On or about April 19, 2009, Person O
opened a Bank of America account in the name of WR Group (“WR”) , with
herself as sole signatory, in which she described WR as a sole
proprietorship.

27. Person P was a former college classmate of defendant
ZUBERI. From January 2014 through October 2015, defendant ZUBERI
paid Person P $5,000 per month to perform a variety of tasks on
behalf of defendant ZUBERI and Avenue Ventures. On or about July 14,
2014, at the direction of defendant ZUBERI, Person P obtained a
certificate of organization in Washington, D.C. designating WR Group
as a limited liability company (“WR, LLC”) .

28. On or about May 23, 2014, at the direction of defendant
ZUBERI, Person P incorporated Beltway Government Services, Inc.
(“BGS”). That same day, Person P opened several Wells Fargo bank
accounts (the “BGS accounts”) in which he identified himself as owner
and sole signatory.

29. Person Q was an associate of defendant ZUBERI. From July
2014 through September 2014, defendant ZUBERI directed Person P to
pay $2,500 per month out of the BGS accounts to the benefit of Person

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Q in return for his agreement to act as a second signatory on the BGS
accounts.

30. Throughout the existence of WR LLC and BGS, Person P
nominally governed both entities but they were actually always
subject to the control of defendant ZUBERI. Defendant ZUBERI
directed Person P to sign contracts, issue invoices, transfer funds,
pay expenses, and forebear from paying expenses. Person P followed
defendant ZUBERI’s instructions with respect to how to operate these
entities.

31. Person R was a business associate of defendant ZUBERI and a
candidate for federal elective office during the 2016 election cycle.

32. Person S was a foreign national, namely, a citizen of -

Bahrain, and high-ranking official of the Bahrain government.

E. Conduit Campaign Contributions

 

33. From on or about April 27, 2012 through on or about October
26, 2016, defendant ZUBERI paid for campaign contributions donated in
the name of other individuals by making the following online payments

with credit cards belonging to defendant ZUBERI and his spouse:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Campaign Contributor Amount
4/27/12 Campaign A Person BB $2,500
4/27/12 Campaign A Person CC $2,500
4/27/12 Campaign A Person DD $2,500
10/26/12 | Campaign B Person EE $5,000
4/5/13 Campaign C Person FF $2,600
4/14/13 Campaign C Person FF $2,600
4/22/13 Campaign D Person B $2,600
4/22/13 Campaign D Person B $2,600
5/31/13 Campaign C Person B $2,600
5/31/13 Campaign C Person B $2,600
5/31/13 Campaign C Person C $2,600
5/31/13 Campaign C Person C $2,600
12/23/13 | Campaign E Person FF $2,600
12/23/13 | Campaign E Person FF $2,600

 

 

 

 

 

 

 

 
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12/26/13 | Campaign F Person FF $2,600
12/26/13 | Campaign F Person FF $2,600
1/27/14 Campaign C Person GG $2,400
1/27/14 Campaign F Person GG $2,600
1/27/14 Campaign C Person GG $2,600
1/27/14 Campaign F Person GG $2,600
1/27/14 Campaign C Person P $2,400
1/27/14 Campaign F Person P $2,600
1/27/14 Campaign C Person P $2,600
1/27/14 Campaign F Person P $2,600
4/19/14 Campaign G Person FF $2,600
4/19/14 Campaign G Person FF $2,600
5/14/14 Campaign G Person FF $2,600
5/14/14 Campaign G Person HH $2,600
9/25/14 Campaign H Person FF $2,600
2/3/15 Campaign I Person C $5,200
3/3/15 Campaign J Person B $2,700
3/3/15 Campaign J Person FF $2,700
3/3/15 Campaign J Person A $2,700
3/3/15 Campaign J Person C $2,700
5/27/15 Campaign C Person B $5,400
9/28/16 Campaign J Person C $400

9/28/16 Campaign J Person B $2,700
9/28/16 Campaign J Person B $2,700
9/28/16 Campaign J Person A $2,700
9/28/16 Campaign J Person A $2,700
9/28/16 Campaign J Person II $2,700
9/28/16 |Campaign J Person IT $2,700
10/26/16 | Campaign K Person B $2,700

34. From on or about February 26, 2013 through on or about

October 28, 2016, defendant ZUBERI paid for campaign contributions

donated in the name of Person AA, a family member who passed away on

or about April 2, 2016, by making the following online payments with

credit cards belonging to defendant ZUBERI:

 

 

 

 

 

 

 

 

 

 

Date Campaign Contributor Amount
4/22/13 Campaign D Person AA $2,600
4/22/13 | Campaign D Person AA $2,600
12/6/13 Campaign E Person AA $2,600
12/6/13 Campaign E Person AA $2,600
12/26/13 | Campaign F Person AA $2,600

 

 

 

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12/26/13 | Campaign F Person AA $2,600
1/3/14 Campaign L Person AA $2,600
1/15/14 Campaign M Person AA $2,600
1/15/14 Campaign M Person AA $2,600
2/19/14 Campaign N Person AA $2,600
2/19/14 Campaign N Person AA $2,600
2/28/14 Campaign O Person AA $2,600
2/28/14 Campaign B Person AA $2,600
2/28/14 Campaign B Person AA $2,600
2/28/14 Campaign O Person AA $2,600
3/21/14 Campaign L Person AA $2,600
3/21/14 Campaign L Person AA $2,600
4/19/14 Campaign O Person AA $2,600
4/19/14 Campaign O Person AA $2,600
4/19/14 Campaign P Person AA $2,600
4/19/14 Campaign L Person AA $2,600
4/19/14 Campaign G Person AA $2,600
4/19/14 Campaign G Person AA $2,600
6/14/14 Campaign Q Person AA $2,600
7/3/14 Campaign R Person AA $2,600
7/3/14 Campaign R Person AA $2,600
7/3/14 Campaign S Person AA $2,600
7/3/14 Campaign S Person AA $2,600
8/16/14 Campaign J Person AA $2,600
1/23/15 Campaign F Person AA $2,600
1/23/15 Campaign F Person AA $2,600
2/3/15 Campaign I Person AA $5,200
2/5/15 Campaign T Person AA $5,000
3/3/15 Campaign J Person AA $2,700
3/9/15 Campaign C Person AA $2,700
3/9/15 Campaign C Person AA $2,700
3/21/15 Campaign U Person AA $2,700
3/21/15 Campaign U Person AA $2,700
3/22/15 Campaign V Person AA $2,700
3/22/15 Campaign V Person AA $2,700
4/12/15 Campaign W Person AA $2,700
6/12/15 Campaign X Person AA $2,700
12/16/15 | Campaign Y Person AA $2,700
12/16/15 | Campaign Y Person AA $2,700
10/28/16 | Campaign Z Person AA $2,700
35. Although Person AA shared certain joint bank accounts with

defendant ZUBERI, none of those joint accounts financed the above-

referenced contributions in Person AA’s name, Person AA lacked

sufficient income to pay for all the contributions made in Person

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AA’s name, and at the time the October 28, 2016 contribution was made

in Person AA’s name, Person AA was deceased.
36. From on or about April 1, 2014 through on or about May 17,
2015, defendant ZUBERI reimbursed the following conduits for campaign

contributions they had donated at defendant ZUBERI’s direction:

 

 

 

 

 

Date Campaign Contributor Amount
4/1/14 Campaign E Person P $400

4/1/14 ‘Campaign E Person P $2,600
5/5/15 Campaign W Person JJ $2,700
5/17/15 Campaign W | Person KK $1,350

 

 

 

 

 

 

37. From on or about September 27, 2013 through on or about
April 14, 2016, defendant ZUBERI solicited and received the following
reimbursements for campaign contributions, or portions of campaign

contributions, defendant ZUBERI had donated in his own name:

 

 

 

 

 

 

 

 

 

 

 

 

Date Campaign Source of Funds Amount
9/27/13 | State Campaign AA Person J $25,000
9/16/14 | Campaign BB Person LL $16,000
4/14/16 | Campaign CC Person LL $35,000
EF. Foreign Sources of Campaign Contributions

38. Beginning on or about May 2, 2012 and continuing to on or

about February 11, 2016, in response to defendant ZUBERI’s

solicitations, Person A and Person C caused Company A and Company B
to issue the following wire transfers into a foreign bank account in
the name of defendant ZUBERI (“the IZ Barclays Dubai account”) that
either funded or reimbursed contributions to the following political

campaigns and a FECA-regulated event (“Event EE”):

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Company A | Date Company B | Date Zuberi Acct. Purpose
to to Zuberi
Company B
$136,600 | 5/1/12 Zuberi Campaign B
Barclays Dubai | Campaign DD
$71,600 6/11/12 Zuberi Campaign DD
Barclays Dubai
$90,000 9/26/12 Zuberi Campaign DD
Barclays Dubai
$180,000 10/10/13 | $180,000 |10/1/12 Zuberi Campaign DD
' | Barclays Dubai
$100,000. | 10/21/12 | Zuberi Campaign DD
Barclays Dubai
$100,000 11/12/12 | Zuberi Event EE
Barclays Dubai
$500,000 {12/10/12 | Zuberi Event EE
Barclays Dubai
$150,000 1/16/13 $150,000 | 1/14/13 Zuberi Event EE
Barclays Dubai
$100,000 5/2/13 $100,000 | 2/27/13 Zuberi Event EE
Barclays Dubai | photos
$5,000 4/30/13 Zuberi Campaign D
Barclays Dubai
$100,200 |2/11/16 | Avenue Campaign DD
Ventures
Wells Fargo US

 

 

 

 

 

 

 

 

 

39. Defendant ZUBERI caused Avenue Ventures to issue invoices
that disguised the nature of these foreign conduit campaign
contributions, typically by falsely characterizing the transfers as
“international consulting.”
conduit contributions were donated in the

40. These foreign,

names of Person A, Person B, Person C, Person D, Person E, Person F,

Person I, Person 0, Person AA, and defendant ZUBERI.

41. From on or about April 14, 2015 through on or about May 5,
2015, defendant ZUBERI also solicited, and caused the following
campaign committees to receive, the following direct contributions

from foreign nationals knowing that they were foreign nationals:

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Date Campaign Contributor Amount
4/14/15 Campaign W Person D $2,700
4/19/15 Campaign W Person A $2,700
5/5/15 Campaign W Person H $2,700
G. Conversion of Funds Intended for Political Campaigns

 

42. Contrary to the representations made by defendant ZUBERI to
Person A and Person C, defendant ZUBERI directed only a portion of

the money wired by Company A and Company B to political campaigns and

Event EE and converted the remaining amounts to his personal benefit:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Wire to Date Intended Campaign Amounts Donated | Amounts
Zuberi to Campaign Converted
$136,600 | 5/1/12 Campaign B & $100,000 $36,600
Campaign DD
$71,600 6/11/12 Campaign DD $0 $71,600
$90,000 9/26/12 Campaign DD $89,000 $1,000
$180,000 | 10/1/12 Campaign DD $40,000 $140,000
$100,000 | 10/21/12 | Campaign DD $0 $100,000
$100,000 |11/12/12 | Event EE SO $100,000
$500,000 | 12/10/12 | Event EE $62,5001 $437,500
$150,000 | 1/14/13 Event EE $35,000 $115,000
$100,000 | 2/27/13 Event EE (photos) $0 $100,000
$100,200 | 2/11/16 Campaign CC $100,000 $200
Total Total Converted | $1,101,900
by ZUBERI
43. For example, on or about September 24, 2012, in connection

with his solicitation of the $90,000 and $180,000 wire transfers,
defendant ZUBERI falsely informed Person C and Person E that he had
incurred expenses of $270,000 by making contributions on their
behalf. Deliberately using the name of a fictitious employee,

defendant ZUBERI sent an email from Robert . Reed@avenueventure.com

that falsely stated:

 

1 From on or about December 27, 2012 through on or about January
15, 2013, defendant ZUBERI made contributions of $62,500, $62,500,
$62,500, $35,000 and $35,000, totaling $257,500, and thereafter
obtained refunds from the inauguration committee of $160,000, making
the actual expenses incurred only $97,500.
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Please get me the forms and the wire as soon as possible
because there are limited number of seats available. I
have used American Express of Imaad to pay for everyone’s
dues. We need to put the names through vettin [sic]
process as well. After the wire is done, please email me
so we can move it into the correct sub-account. Thanks Rob

44. That same day, defendant ZUBERI falsely informed Person C
that defendant ZUBERI was approaching the credit limit on his
American Express card because of the $270,000 in contribution
expenses incurred, and attached a notice from American Express to
purportedly confirm that assertion. In fact, defendant ZUBERI
fraudulently prepared the American Express notice to inflate his
outstanding balance from approximately $3,943 to $279,998 and his
credit limit from $19,000 to $300,000.

45. From on or about September 27, 2012 through on or about
October 12, 2012, defendant ZUBERI converted approximately $141,000
of the $270,000 he received as part of this scheme and used the
majority of those funds to (a) pay off a $68,679 mortgage balance on
his personal residence, (b) transfer $40,000 to a business operated
by his spouse and her close relative, and (c) withdraw $5,000 in cash
for himself.

46. On or about January 21, 2013, defendant ZUBERI falsely
informed Person A, Person C, and Person E that there was a shortfall
in their contributions to Event EE and that a hold had been placed on
their photographs with the President and Vice-President, writing:

[Y]ou guys were supposed to take only two people for the

photo. These were $250,000 per person with President and

Vice President. I told you by mistake they had put wrong

names on the photo line. When the photo (sic) are out they

will match it with who went to the photo line versus who

paid for them or how many paid. It won’t take long for

them to figure this out. There were four people instead of

two. It will make me look like I am trying to play a fast

one with them. I do not want to take chance with my

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reputation for a couple hundred thousand dollars. It is not

worth it for me and I have too much to lose. I told them

there was a mistake made and to hold our photo until I tell

them which one to release and not release. You need to

tell me which two people photo you want released. Let me

make it clear, except for [Person C], both [Person E] and

[Person A] have not paid enough for this specific photo.

47. In fact, as defendant ZUBERI knew, there was no shortfall
in contributions to Event EE and, in the weeks ahead, defendant
ZUBERI actually received refunds for some contributions defendant
ZUBERI had made to Event EE.

48. From on or about January 22, 2013 through or about February
25, 2013, defendant ZUBERI falsely informed Person C that defendant
ZUBERI personally paid $250,000 for the additional photo and that
defendant ZUBERI expected Person A to reimburse him for that expense
or else he would inform business associates not to work with Person
A. Ultimately, defendant ZUBERI informed Person A that he would
accept the reduced amount of $100,000 from Person A for the purported

reimbursement.

H. Income From anti-Bahrain Lobbying Effort

 

49. In or about February 2013, Person J informed defendant
ZUBERI that he was engaged in a financial dispute with Person S.
According to Person J, Person S won a monetary arbitration award
against Person J for services rendered in connection with the
development of the Al Areen Palace & Spa (“Al Areen”), a master
planned development in southern Bahrain. According to Person J, as a
result of this dispute with Person S, the Government of Bahrain had
frozen Person J’s personal assets and delayed further development of
Al Areen, which was causing significant financial harm to Person J.

50. To remedy Person J’s financial dispute, defendant ZUBERI
proposed to use his connections with current and former high-ranking

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U.S. Government officials to dissuade the Bahraini government from
engaging in conduct antithetical to Person J’s financial interests
(“the anti-Bahrain lobbying effort”).

51. Defendant ZUBERI further proposed that he and Person J
convey the appearance that Avenue Ventures was investing in Al Areen.
By injecting a U.S. “investor” into the project, defendant ZUBERI
believed he could convince high-ranking U.S. Government officials to
apply political pressure on the Bahrain government into stopping its
interference in the Al Areen development because of its adverse
financial impact on a U.S. entity. Defendant ZUBERI proposed a
circular scheme through which the appearance of a U.S. investment
would be created: (a) Person J would invest in a U.S. company; (b)
the U.S. company would invest in Avenue Ventures; and (c) Avenue
Ventures would then invest in an Al Areen Holding Company (“AHC”)
that purportedly owned Al Areen.

52. From on or about March 3, 2013 through on or about May 28,
2013, defendant ZUBERI enlisted the support of a former high-ranking
U.S. official to speak with members of the Bahrain government, U.S.
State Department officials, and a Member of Congress in furtherance
of the anti-Bahrain lobbying efforts.

53, From on or about March 12, 2013 through on or about March
5, 2014, defendant ZUBERI enlisted the support of a high-ranking U.S.
State Department official in Bahrain to visit Al Areen, meet with
members of the Bahrain government, and speak with Members of Congress
in furtherance of the anti-Bahrain lobbying effort.

54. From on or about March 15, 2013 through on or about June 1,
2013, defendant ZUBERI discussed with Members of Congress and their
staffs how to enlist the support of the U.S. State Department in

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furtherance of the anti-Bahrain lobbying effort and arranged for
these Congresspersons to meet with Bahrain government officials.

55. On or about April 29, 2013, defendant ZUBERT staged a
public event in Los Angeles, California, at which Person J and other
individuals purported to sign a partnership agreement in which Avenue
Ventures acquired a 35% stake in AHC in return for its having made a
sizable U.S. foreign investment in Al Areen. In fact, no such
agreement was executed.

56. Defendant ZUBERI solicited Person J for money in return for
acting as an unregistered foreign agent of Person J. On or about
August 3, 2013, defendant ZUBERI told Person J and others:

It has been several months since the Al-Areen press-

conference. We need to put closure on this by Thursday

August 15. We have been asked about this project by [State

Department Official] and others including calls from

[Bahrain government officials . . .] If it is not moving

forward then we will let US State Department know that we

are not moving forward with this project.

57. On or about August 18, 2013, defendant ZUBERI warned
Person J:

Next week we need to either get documents signed or we need

to have a press release that we agreed not to move forward

thereby disengaging. It has been over 5-6 months which is

way too long. Tomorrow, if someone challenged this then

what document do I have to prove this is a real

transaction?

58. On or about August 26, 2013, Person J executed a contract
with Avenue Ventures on behalf of Company D. Under the terms of the
contract, Avenue Ventures would provide consultancy services to
further Company D’s attempts to enter into business relationships

throughout the world on an as-needed basis. In return, Company D

would pay Avenue Ventures a retainer of $250,000 per year plus

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additional retainers and success fees as projects were realized, as
well as expenses.

59. Defendant ZUBERI failed to register under FARA as an agent
of Person J, a foreign national, and received income for acting as an
unregistered agent of Person J. For example, in or about August
2013, Avenue Ventures issued an invoice to Company D seeking $250,000
per the “2013 contract.” On or about August 29, 2013, Avenue
Ventures issued an invoice to Company D for $27,900 for expenses
incurred in relation to the anti-Bahrain lobbying effort. On or
about September 2013, Company D wired $277,858 to the IZ Barclays
Dubai account in payment on those invoices related to defendant
ZUBERI’s anti-Bahrain lobbying efforts.

60. From on or about January 15, 2014 through on or about March
5, 2014, defendant ZUBERI prevailed upon Members of Congress to issue
official letters to the Foreign Minister of Bahrain in support of the
anti-Bahrain lobbying efforts. In order to achieve this goal,
defendant ZUBERI falsely informed Members of Congress:

[A] major investment by a US company in Bahrain is

experiencing significant interference from Bahraini

authorities acting on behalf of a member of the royal

family. . . . [Avenue Ventures] is seeking support from its

government for a cessation of interference in its project

in Bahrain. ‘

61. In fact, Avenue Ventures had not invested any money or
acquired any stake in either AHC or Al Areen and the true purpose of
the lobbying efforts was to financially benefit Person J.

62. From on or about January 15, 2014 through on or about March
5, 2014, in response to the lobbying efforts of defendant ZUBERI on
behalf of Person J, twelve Members of Congress issued official

letters to the Foreign Minister of Bahrain citing the purported

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“harassment” of “U.S. investors” and asking that his government stop
its “interference.”

I. Conversion of Funds/Income Received From U.S. Cares Investors

 

63. From on or about August 12, 2013 through on or about
January 27, 2014, defendant ZUBERI solicited Person J, Person K,
Person L, Person M, and Person N to invest in U.S. Cares and caused
Avenue Ventures to enter into an operating agreement with their
respective companies.

64. The operating agreement that defined the investment
assigned the following ownership percentages in the venture: Avenue
Ventures (28.5%), Company D (20%), Company F (9.5%), Company & (23),
Company G (20%), and Company H (20%). The agreement required the
establishment of a capital account with respect to each member’s
capital contributions.

65. From on or about September 28, 2013 through on or about
March 11, 2014, the U.S. Cares investors wired approximately
$7,000,000 into the IZ Barclays Dubai account, an individual Emirates
Bank account in the name of defendant ZUBERI located in Dubai (“the
IZ Emirates Dubai account”), and a Bank of America account in the
United States held jointly in the name of defendant ZUBERI and his
spouse (“the IZ/WR BofA account”).

66. Capital investments from Person N and his business, Company
H, and Person M’s business, Company G, were wired to defendant ZUBERI

as follows:

 

 

 

 

 

 

 

Transfer Date | Transfer Amount | Payor Zuberi Account
12/10/2013 $500,000 Person N IZ/WR BofA US
12/12/2013 $490,070 Person N TZ Emirates Dubai
12/22/2013 $245,031 Person N IZ Emirates Dubai
12/24/2013 $500,000 Company H IZ/WR BofA US
1/27/2014 $2,000,000 Company G IZ Emirates Dubai

 

 

 

 

 

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67. Defendant ZUBERI did not transfer any of the funds received
from U.S. Cares investors into a U.S. Cares capital account as
required by the operating agreement. Instead, from on or about
December 5, 2013 through on or about October 12, 2015, defendant
ZUBERI used over 90% of the investor funds to (a) purchase real
estate in the names of various limited liability companies owned
entirely by himself and his spouse (“IZ/WR Real Property LLCs”), (b)
pay down mortgages owed by IZ/WR Real Property LLCs, (c) remodel
property owned by IZ/WR Real Property LLCs, (d) invest in brokerage
accounts in the names of defendant ZUBERI and his spouse, (e) donate
$250,000 to a non-profit organization established by a former high-
ranking elected official, and (f) pay down personal credit card debt,
most of which was incurred to pay campaign contributions and travel,
meal, entertainment, and personal expenses.

68. Out of approximately $7,000,000 wired to defendant ZUBERI
by U.S. Cares investors, less than $250,000 was spent in furtherance
of defendant ZUBERI’s advertised business purpose. On or about
October 7, 2013 and on or about December 9, 2013, defendant ZUBERI
issued two $90,000 checks to a law firm in connection with the
creation of U.S. Cares and preparing a license application to OFAC.
From in or about October 2013 through in or about February 2016,
defendant ZUBERI paid another attorney approximately $20,000 in
connection with the U.S. Cares license application. |

69. In or about January 2016, United States sanctions against
Iran were lifted, which impacted OFAC regulations pertaining to U.S.
Cares.

70. On or about February 22, 2016, OFAC responded to U.S. Cares
license application, stating that “. . . the Applicant’s proposed

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transactions related to the exportation and reexportation of the
goods as described in the application appear to be generally
authorized[.]”

71. After the OFAC response, defendant ZUBERI took no further
action with respect to the license application, nor did he use any of
the converted funds to engage in the planned distribution of
humanitarian supplies to Iran.

J. Conversion of Funds/Income Received From Sri Lankan Government

 

72. From on or about November 28, 2013 through on or about
March 5, 2014, defendant ZUBERI met with high-ranking officials of
the Government of Sri Lanka and negotiated an agreement whereby
Avenue Ventures, or a special-purpose company created by Avenue
Ventures, would engage in lobbying and public relations efforts to
rehabilitate Sri Lanka’s image in the United States. This proposed
lobbying and public relations effort focused on modifying United
States policies, particularly through the issuance of Congressional
resolutions, and improving public perception relating to Sri Lanka’s
alleged persecution of its minority Tamil population.

13. On or about March 5, 2014, defendant ZUBERI pledged to
expend $2,250,000 per quarter in support of this effort with
$1,500,000 per quarter for lobbying expenses, $500,000 per quarter
for legal expenses, and $250,000 per quarter for media buys.
Defendant ZUBERI told Sri Lankan officials that the effort would
include introducing Sri Lankan officials to executive branch
administration officials, Senators, and Congresspersons, and
recruiting Sri Lankan expatriates to engage in political organizing

in the United States.

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74. On or about April 26, 2014, WR entered into a contract,
effective May 1, 2014, with the Central Bank of Sri Lanka (“the Sri
Lanka-WR contract”). The Sri Lanka-WR contract described WR’ s
services as “(i) strategic advice related to commercial and public
policy considerations related to the US and other parties;” and (11)
“identification of consultants or other legal or non-legal advisors
to [Sri Lanka] and the Central Bank as may effectuate Sri Lanka's
commercial and diplomatic objectives.” In return, the Sri Lanka-WR
contract required the payment of $8,500,000 in accordance with the
following schedule: $3,500,000 on May 1, 2014, and five payments of
$1,000,000 per month from June through October 2014.

75. On or about May 9, 2014, at defendant ZUBERI’s request, the
Central Bank of Sri Lanka wired $3,500,000 to the IZ/WR BofA account.

76. j%In or about May 2014, defendant ZUBERI transferred
$1,600,000 of the Sri Lankan money into his personal brokerage
accounts, $1,500,000 to escrow accounts for the purchase of real
property in the name of an IZ/WR Real Property LLC, $300,000 to pay
debt on personal credit card accounts, and most of the remaining
$100,000 into bank accounts held by IZ/WR Real Property LLCs (“IZ/WR
Real Property LLC accounts”).

77. On or about June 18, 2014, at defendant ZUBERI’s request,
the Central Bank of Sri Lanka wired $1,000,000 to the IZ/WR BofA
account.

78. Im or about June 2014, defendant ZUBERI transferred
approximately $650,000 of Sri Lanka money into his brokerage accounts

and almost $200,000 of Sri Lanka money into IZ/WR Real Property LLC

accounts.

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79. In or about July 2014, Sri Lankan officials insisted that
the payments in connection with the Sri Lanka-WR contract be
disbursed to the contracting party, WR, rather than to defendant
ZUBERI’s personal bank account. In addition, Sri Lankan officials
requested receipts from WR with respect to the wire transfers already
made. -

80. On or about July 9 and 10, 2014, defendant ZUBERI directed
Person P to issue fraudulent receipts on behalf of WR for the

$3,500,000 and $1,000,000 wire transfers, despite the funds having

been received into defendant ZUBERI’s personal bank account and spent

for defendant ZUBERI’s personal benefit.

81. On or about July 18, 2014, the Central Bank of Sri Lanka
wired $1,000,000 into a WR bank account.

82. From in or about July 2014 through in or about September
2014, defendant ZUBERI directed Person P to transfer over $500,000 of
Sri Lankan money from WR to corporate entities controlled by
defendant ZUBERI- and his spouse, including Avenue Capital Group, LLC
(“ACG”), ISZ 9 LLC (“ISZ”), Fountain, LLC (“Fountain”), and Clary LLC
(“Clary”). Defendant ZUBERI then transferred most of the Sri Lankan
money into the IZ/WR BofA account, which were then used for defendant
ZUBERI’s personal benefit, including brokerage account investments,
real estate investments, and to pay debt on his personal credit

cards. The transactions are summarized below:

 

 

 

1s* Transfer 2-4 Transfer 3*¢ Transfer Beneficiary
$250,000 to $225,000 to $100,000 to
ISZ 9 IZ/WR BofA Etrade IZ/WR
$100,000 to
Etrade IZ/WR

 

 

 

 

 

 

 

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$250,000 to $225,000 to $113,484 to

 

 

 

 

 

 

 

 

 

 

Fountain IZ/WR BofA American Express IZ/WR
$100,000 to
Etrade IZ/WR
$250,000 to $240,000 to $135,000 to
Clary AIS BGS BGS
$50,000 to
American Ctrl
ESCrow TZ/WR
$50,000 to
American Ctrl
Escrow IZ/WR
$200,000 to $149,000 to
ACG BGS BGS
$25,000 to
Person R PERSON R
$25,000 to
Person R PERSON R
$40,000 to
BGS " BGS
$5,000 to
BGS BGS
$5,000 to
Person P PERSON P

 

 

 

 

 

 

 

83. On or about September 10, 2014, the Central Bank of Sri
Lanka wired $1,000,000 into a WR bank account.

-84. From in or about September 2014 through in or about October
2014, defendant ZUBERI directed Person P to transfer approximately
$725,000 of Sri Lankan money from WR to corporate entities controlled
by defendant ZUBERI, including ACG and Avenue Investment Services,
LLC (“AIS”). Defendant ZUBERI then transferred most of the funds
into the I2/WR BofA account, which were then used for defendant
ZUBERI’s personal benefit, including brokerage account investments
and to pay debt on his personal credit cards. The transactions are

summarized below:

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1st Transfer | 224 Transfer 37¢ Transfer Beneficiary
$475,000 to | $390,000 to $36,674 to
ACG (2 cks) | 1Z/WR BofA American Express IZ/WR
$100,000. to
Etrade IZ/WR
$100,000 to
Schwab IZ/WR
$100,000 to
Schwab TZ/WR
$35,000 to
Nelson
Mullins NM
$13,500 to
BGS BGS
$475,000 to | $355,000 to $100,000 to
AIS (2 cks) | 1Z/WR BofA Etrade IZ/WR
$100,000 to
Etrade IZ/WR
$100,000 to
Etrade IZ/WR
$66,674 to
American Express IZ/WR
$50,000
to BGS BGS
$6,000 to
- BGS BGS
$24,750 to
BGS BGS
$8,750 to
BGS BGS
$16,500 to
Person P PERSON P

 

 

 

 

 

85. Out of the $6,500,000 wired from Sri Lanka pursuant to
Sri Lanka-WR contract, defendant ZUBERI directed over $5,650,000
the benefit of defendant ZUBERI and his spouse.

86. Out of the $6,500,000 wired from Sri Lanka pursuant to

Sri. Lanka-WR contract, less than $850,000 was paid to lobbyists,

public relations firms, law firms, and other subcontractors

identified by defendant ZUBERI and retained by BGS.

87. At defendant ZUBERI’s direction,

certain invoices issued by these subcontractors.

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Person P failed to pay

Defendant ZUBERI

 

 
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falsely represented to these unpaid subcontractors that Sri Lanka had
provided insufficient funds to make payment and that BGS and Person P
were in possession of funds received from Sri Lanka when, in fact,
defendant ZUBERI had directed Person P to transfer the Sri Lankan
funds to benefit defendant ZUBERI personally.

K. Income Received in 2015

 

88. On or about March 27, 2015, Company I, a Ukrainian foreign
entity, wired $1,000,000 to the IZ/WR BofA account as payment on an
invoice for consulting services issued by defendant ZUBERI.

89. Defendant ZUBERI used the majority of the Company I funds
for his personal benefit as follows: $650,000 to defendant ZUBERI’s
personal brokerage accounts, $174,000 to pay debt on his personal
credit card, $39,500 to purchase a BMW automobile, and $22,408 to pay
taxes he owed to the California Franchise Tax Board.

90. On or about August 4, 2015, Person J wired $1,000,000 to an
ACG bank account for “Consultancy Fees from Al-Areen project.”

91. On or about August 5, 2015, defendant ZUBERI used the
majority of the funds received from Person J to issue a $770,000
check that he deposited into the IZ/RW BofA account. These funds
were combined with other funds to wire $3,183,800 to an escrow
company in connection with the purchase of a property in the name of
an IZ/WR Real Property LLC.

92. On or about October 26, 2015, Company C wired $999,980 to
an ACG bank account for an “Engagement Fee.” The fee constituted a
retainer for Avenue Ventures to provide consultancy services to
assist Company C to engage in business relationships with government
entities and private companies throughout the world on an as-needed
basis.

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93. On or about October 28, 2015, defendant ZUBERI’s spouse
used the majority of the funds received from Company D to purchase a
$626,000 cashier’s check payable to an escrow company in connection
with the purchase of a property in the name of an IZ/WR Real Property
Lic.

L. Unreported Income

 

94. Defendant ZUBERI had a legal obligation to file an U.S.
Tndividual Income Tax Return, IRS Form 1040 (“Form 1040”) for the
2012 calendar year because, at a minimum, defendant ZUBERI received
approximately $886,700 from Company B for campaign contributions that
defendant ZUBERI instead converted to his own benefit.
Notwithstanding this obligation, defendant ZUBERI did not file a Form
1040 reporting income he received during the 2012 calendar year.

95. On or about April 15, 2014, defendant ZUBERI and his spouse
caused the electronic filing of a Form 1040 for the 2013 calendar
year. Defendant ZUBERI falsely reported on line 22 of that tax
return a total income of $182,211. This amount was understated
because, at a minimum, the Form 1040 failed to account for (a)
approximately $215,000 defendant ZUBERI received from Company B for
contributions to Event EE that defendant ZUBERI instead converted to
his own benefit and (b) approximately $2,223,000 defendant ZUBERI
converted from U.S. Cares.investors during the 2013 calendar year.

96. On or about April 15, 2015, defendant ZUBERI and his spouse
caused the electronic filing of a Form 1040 for the 2014 calendar
year. Defendant ZUBERI falsely reported on line 22 of that tax
return a total income of $558,233. This amount was understated
because, at a minimum, the return failed to account for (a)
approximately $5,650,000 defendant ZUBERI received either directly

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from Sri Lanka or indirectly from Sri Lanka through WR in connection
with the Sri Lanka-WR contract and which defendant ZUBERI expended
for his own personal benefit and (b) approximately $2,200,000
defendant ZUBERI converted from U.S. Cares investors during the 2014
calendar year.

97. On or about October 14, 2016, defendant ZUBERI and his
spouse caused the electronic filing of a Form 1040 for the 2015
calendar year. Defendant ZUBERI falsely reported on line 22 of that
tax return a total income of $1,959,992. This tax amount was
understated because the return failed to account for (a) $1,000,000
received from Company I by ACH, which should have been accounted for
on defendant ZUBERI’s Form 1040 as business income, and (b) |
approximately $1,000,000 defendant ZUBERI converted from U.S. Cares
investors during the 2015 calendar year.

M. Defendant Zuberi’s Lobbying and Public Relation Activities

 

Conducted at the Direction and Control of the Sri Lankan

 

Government

98. From in or about December. 2013 through in or about October
2014, defendant ZUBERI directed and personally engaged in lobbying
and public relations activities targeting United States elected
officials and their staff, at the direction and control of Sri Lanka.
Defendant ZUBERI (a) solicited, on behalf of Sri Lanka, Members of
Congress to accept all-~expenses-paid trips to Sri Lanka, (b) authored
emails and wrote proposals for Sri Lanka setting forth the strategy
of the influence campaign, (c) interviewed, recommended, and
negotiated subcontracts with lobbyists for Sri Lanka, (d) organized
conference calls with lobbyists to set forth their responsibilities,
(e) coordinated a series of meetings in Washington, D.C. between Sri

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Lankan officials and United States Senators, Congresspersons, and
their staff, (f) personally introduced members of a Sri Lanka
delegation to Members of Congress, and (g) participated in meetings

with United States Government officials at which the goals of the Sri

|| Lanka delegation were discussed.

99. From on or about April 26, 2014 through on or about suly
14, 2014, defendant ZUBERI directed Person P to sign the Sri Lanka-WR
contract, create BGS and WR, and open bank accounts for those
companies to insulate and conceal defendant ZUBERI’s control of the
Sri Lanka lobbying and public relations effort, and defendant
ZUBERI’s personal receipt of money from Sri Lanka. In reality, BGS
and WR acted as alter egos of defendant ZUBERI and all efforts
undertaken by those entities were, in fact, directed by defendant
ZUBERI.

100. Beginning on or about June 2, 2014, defendant ZUBERI
instructed Person P to sign contracts on behalf of BGS in which it
retained various lobbyists to support the Sri Lanka-WR contract.
Defendant ZUBERI instructed Person P when to pay lobbyists and other
subcontractors on behalf of BGS and WR. Defendant ZUBERI instructed
Person P not to pay certain lobbyists, .despite their rendering of
services.

N. FARA Violations Pertaining to Sri Lanka

 

101. From in or about December 2013 through in or about October
2014, defendant ZUBERI was the agent of Sri Lanka, and therefore had
personal registration obligations under FARA.

102. Defendant ZUBERI failed to register with the Department of
Justice as a foreign agent of Sri Lanka prior to acting on Sri
Lanka’s behalf.

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103. In an effort to conceal his conduct at the direction and
control of Sri Lanka, defendant ZUBERI directed Person P to register
BGS, rather than defendant ZUBERI himself. On or about June 2, 2014,
Person P filed a FARA registration statement for BGS as an agent of
Sri Lanka. On or about August 14, 2014, BGS filed a supplemental
registration statement. In each of these 2014 registration
statements, BGS failed to report any of the money it received from
Sri Lanka, the money disbursed to companies under defendant ZUBERI’s
control, or the money disbursed to various subcontractors that had
engaged in the Sri Lanka lobbying and public relations effort.

104. On or about June 2, 2014, Person P filed a “short-form”
FARA registration statement, identifying himself as a director of
BGS.

105. On or about June 2, 2014, at defendant ZUBERI’s direction,
Person Q filed a short-form FARA registration statement, identifying
himself as a director of BGS.

106. On or about August 14, 2014, defendant ZUBERI filed a
short-form FARA registration statement, claiming that BGS contracted
with him to provide consulting work on behalf of Sri Lanka. —

107. Defendant ZUBERI’s short-form statement contained material
false statements and omitted material facts. These included, but
were not limited to, that defendant ZUBERI willfully and falsely
claimed that .(a) BGS retained him as a consultant when, in fact, he
orchestrated all of BGS’s activities, (b) he engaged in no political
activity on behalf of Sri Lanka, when, in fact, he lobbied the United
States Congress on behalf of Sri Lanka’ (c) he merely received a
salary from BGS “[n]ot based solely on services rendered to the
foreign principal,” when, in fact, he received not a salary from BGS,

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but rather over $5,650,000 of Sri Lanka funds, and (d) he had made no
political contributions on his own behalf during the period beginning
60 days prior to the date of his obligation to register to the time
of the filing of the short-form FARA registration statement, when, in
fact, defendant ZUBERI made contributions to dozens of election
campaigns during this timeframe. In addition, in that short-form
statement, defendant ZUBERI did not disclose the $3,500,000 and
$1,000,000 wire transfers he had received into the IZ/WR BofA account
in May and June 2014, or the $500,000 in Sri Lanka funds he had
converted from WR to his own benefit in July 2014.

108. Notwithstanding WR’s contract with Sri Lanka, WR did not
register under FARA at any time during the 2014 calendar year.

109. The net result of defendant ZUBERI’s failure to register
under FARA and the 2014 FARA filings containing material false
statements and material omissions was that the American public was
unaware of millions of dollars routed by Sri Lanka to defendant
ZUBERI and the scope of his concerted and foreign-funded efforts to
transform United States foreign policy and. public opinion to_the
benefit of that foreign government.

110. In or about late July 2015, defendant ZUBERI was contacted
by a reporter for an online magazine, who ultimately published an
article reporting that defendant ZUBERI had received millions of
dollars from the former Government of Sri Lanka, failed to make
requisite FARA disclosures, and was the subject of an investigation
by the U.S. Department of Justice in Washington, D.C.

111. After his contact with the reporter, but prior to the
publication of the article, defendant ZUBERI directed Person P to
file FARA registration material prepared by an attorney retained by

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defendant ZUBERI. On or about August 11, 2015, Person P issued a
letter to NSD to “disclose voluntarily a relationship between FARA
registrant [BGS and WR], which was not on BGS’s FARA registration.”
The letter falsely asserted that:

[WR] is a US business consulting entity which performed

services for the Government of Sri Lanka [] including

consulting, research, and related services. [WR] did not
perform any lobbying services. [WR] appointed BGS to help
identify and engage with consultants who could advance [Sri

Lanka] public policy interests in the US. There was no

written contract or specific correspondence to disclose on

Exhibit B to BGS’ Registration Statement. Additionally,

there was no set fee for these services, and there was no

specific term for these activities. The activity has ended

and BGS has since filed its termination statement.

112. On or about September 9, 2015, over 20 months after having
begun working at the direction and control of Sri Lanka, defendant
ZUBERI filed a FARA registration statement, including an attached
supplemental statement. In the filing, defendant ZUBERI disclosed
his receipt of $3,500,000 on May 9, 2014, and $1,000,000 on June 18,
2014, for “business consulting service, including non-specified
amount for public affairs.” Defendant ZUBERI also disclosed the Sri
Lanka-WR contract, defendant ZUBERI’s personal campaign contributions
during the relevant timeframe, and disbursements to various lobbyists
and other subcontractors.

113. Defendant ZUBERI’s September 2015 FARA filing nevertheless
contained material false statements and omitted material facts.
These included, but were not limited to, that defendant ZUBERI
willfully and falsely claimed that he provided no services to Sri
Lanka after September 2014. In fact, on October 15, 2014, defendant
ZUBERI reported to Sri Lanka officials a pledge from a Member of

Congress to visit Sri Lanka in January 2015. In addition, on

December 4, 2014, defendant ZUBERI promised a Sri Lanka official that

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he would “extend[] the current contract up to March 2015 at no cost
to [Sri Lanka].”

114. Defendant ZUBERI’s September 2015 FARA filing was
accompanied by a letter from his attorney that falsely described his
involvement as merely providing business consulting services to Sri
Lanka and funding to BGS for public affairs consulting purposes. The
letter falsely stated that FARA registration was not required because
defendant ZUBERI engaged in non-political work in furtherance of
commerce, the Sri Lanka-WR contract was only a business consulting
contract that did not call for lobbying by defendant ZUBERI or WR,
and defendant ZUBERI himself did not conduct or plan to conduct any
lobbying or public relations work for Sri Lanka. In fact, defendant
ZUBERI was the primary organizer of paid political efforts to mold
the opinion of Members of Congress and executive branch
administration officials, at the direction and control of Sri Lanka.

115. On or about September 15, 2015, more than 16 months after
WR contracted with Sri Lanka, WR filed its initial FARA registration
statement and associated forms. The filing disclosed the two
$1,000,000 wire transfers WR received from Sri Lanka in July 2014 and
September 2014. The filing falsely declared that most of WR’s
activities were not reportable pursuant to FARA because only a

portion of the money directed to BGS was for public affairs

consulting that had been previously disclosed by registered entities.

116. On or about September 15, 2015, BGS filed supplemental FARA
registration statements. The BGS filing reported that BGS had
engaged in “general consultative services related to some of foreign

principal’s work on government affairs” and finally reported the

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money received from defendant ZUBERI. and WR as well as disbursements
to various lobbyists and other subcontractors.
117. These Introductory Allegations are incorporated into each

count of the Information.

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COUNT ONE
[22 U.S.C. §§ 612, 618 (a) (2) ]

On or about August 14, 2014 and September 9, .2015, in Los
Angeles County, within the Central District of California, defendant
IMAAD SHAH ZUBERI knowingly and willfully made and caused to be made
false statements of material fact, willfully omitted material facts
required to be stated therein, and willfully omitted material facts
necessary to make the statements therein and the copies of documents
furnished therewith not misleading, in documents filed with and
furnished to the Attorney General under the provisions of the Foreign
Agent Registration Act. Specifically:

In box 11 of the short-form registration statement filed on or
about August 14, 2014, defendant ZUBERI falsely stated that he was a
“Consultant to Beltway Government Strategies.” In fact, as defendant
ZUBERI knew at time he made the statement, he created and controlled
Beltway Government Strategies.

In box 12 of the short-form registration statement filed on or
about August 14, 2014, defendant ZUBERI falsely stated that his
services to the Government of Sri Lanka did not include political
activity, as defined by FARA. In fact, as defendant ZUBERI knew at
the time he made the statement, ZUBERI’s services to the Government
of Sri Lanka included an extensive amount of political activity.

Tn box 14 of the short-form registration statement filed on or
about August 14, 2014, in response to the question, “What
compensation or thing of value have you received to date or will you
receive for the above services?”, defendant ZUBERI falsely stated
that he received a salary from BGS “[n]ot based solely on services

rendered to the foreign principal” and intentionally omitted that he

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received $3,500,000 in May 2014 and $1,000,000 in June 2014 solely
based on lobbying services rendered to Sri Lanka.

In box 15 of the short-form registration statement filed on or
about August 14, 2014, defendant ZUBERI stated that he had made no
political contributions on his own behalf during the period beginning
60 days prior to the date of his obligation to register to the time
of the filing of the short-form FARA registration statement. In
fact, as defendant ZUBERI knew at the time he made the statement, he
had contributed to dozens of election campaigns during this
timeframe.

In box 7 of the supplemental statement filed on or about
September 9, 2015, defendant ZUBERI listed “09/30/2014” as the date
when his connection with the Government of Sri Lanka terminated.
Similarly, in box 14(a) of the supplemental statement filed on or
about September 9, 2015, defendant ZUBERI stated that his
relationship with the Government of Sri Lanka “ended in September
2014.” In fact, as defendant ZUBERI knew at: the time he made these
statements, he continued to act as an agent for the Government of Sri

Lanka after September 30, 2014.

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COUNT TWO
[26 U.S.C. § 7201]

From on or about May 9, 2014, to on or about April 15, 2015, in
Los Angeles County, within the Central District of California,
defendant IMAAD SHAH ZUBERI, a resident of El Monte, California,
willfully attempted to evade and defeat the assessment and payment of
the income tax due and owing by him and his spouse to the United
States of America for the calendar year 2014, by committing the
following affirmative acts, among others:

a. Diverting over $5,650,000 received for the purposes of
the Sri Lanka-WR contract to the benefit of defendant ZUBERI and his
spouse; and

b. Causing to be filed with the Director, Internal
Revenue Service Center, at Fresno, California, a false and fraudulent
joint U.S. Individual Income Tax Return, Form 1040 that stated the
joint total income of defendant ZUBERI and his spouse for the
calendar year was $558,233 and that the amount of tax due and owing
thereon was $52,069. : In fact, as defendant ZUBERI then knew, their
joint total income for the calendar year 2014 was in excess of
$5,650,000, and, upon the additional taxable income, an additional

tax was due and owing to the United States of America.

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COUNT THREE
[52 U.S.C. §$§ 30116, 30118, 30121, 30122, 30109(d) (1) ]

During the calendar year 2015, in Los Angeles County, within the
Central District of California, defendant IMAAD SHAH ZUBERI knowingly
and willfully violated the Federal Election Campaign Act, in amounts
aggregating at least $25,000 during that calendar year, by (a) making
contributions in the names of other individuals, (b) reimbursing
contributions made by other individuals, (c) receiving reimbursements
from other individuals for contributions he made, (d) soliciting
contributions made by foreign nationals, and (e) making contributions
with money received from, or reimbursed by, foreign nationals and
foreign entities.

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United States Attorney

Bovnctér Kae

BRANDON D. FOX
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Chief, Criminal Division

MACK E. JENKINS
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Civil Rights Section

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Deputy Chief, Public Corruption &
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ELISA FERNANDEZ

Assistant United States Attorney
Public Corruption &

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